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                 IN THEUNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
                              CIVIL DIVISION
 ___________________________________________________________________________

ANTHONY W. PERRY, Pro se                  :
5907 Croom Station Rd.                    :
Upper Marlboro, MD 20772                  :
(301) 928-2305                            :
                                          :
                   Plaintiff,             :
                                          :Civil Action No: 17-cv-1932 (TSC)
            v.                            :
                                          :
WILBUR ROSS, SECRETARY                    :
U.S. DEPARTMENT OF COMMERCE               :
1401 Constitution Ave., N.W.              :
Washington, D.C. 20230,                   :
                                          :
                   et al.                 :
                                          :
                   Defendants.            :
__________________________________________


                           Order For Summary Judgment

      Upon consideration of Plaintiff Anthony W. Perry’s Motion for Summary

Judgment, Statement of Facts, Brief in Support of Summary Judgment and a

judicial review of the administrative record, Plaintiff is entitled to summary

judgment as a matter of law, it is


      ORDERED that Anthony Perry’s Motion is GRANTED and he is therefore

reinstated immediately; and it is


      FURTHER ORDERED that judgment is entered in favor of Plaintiff on all

remaining claims allowed at this juncture by the Court and that this Court will
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proceed with review de novo of the underlying discrimination claim(s) and their

respective anti-retaliation provisions including EEO File No. 0120161632/Agency

No. 63-2016-00083.


      It is so Ordered by this Court the ______ day of __________________, 2019.




                                             ___________________________________

                                             TANYA S. CHUTKAN

                                             United States District Judge
